       Case 19-32076                  Doc 11         Filed 11/14/19 Entered 11/14/19 23:38:34                                    Desc Imaged
                                                     Certificate of Notice Page 1 of 4
Information to identify the case:
Debtor 1                 David E Agbon−Ifo                                                      Social Security number or ITIN     xxx−xx−6179

                         First Name   Middle Name   Last Name                                   EIN    _ _−_ _ _ _ _ _ _
Debtor 2                                                                                        Social Security number or ITIN _ _ _ _
(Spouse, if filing)      First Name   Middle Name   Last Name
                                                                                                EIN    _ _−_ _ _ _ _ _ _
United States Bankruptcy Court        Northern District of Illinois
                                                                                                Date case filed for chapter 13 11/11/19
Case number:          19−32076



Official Form 309I
Notice of Chapter 13 Bankruptcy Case                                                                                                                   12/17


For the debtors listed above, a case has been filed under chapter 13 of the Bankruptcy Code. An order for relief has
been entered.
This notice has important information about the case for creditors, debtors, and trustees, including information about
the meeting of creditors and deadlines. Read both pages carefully.
The filing of the case imposed an automatic stay against most collection activities. This means that creditors generally may not take action to collect debts
from the debtors, the debtors' property, and certain codebtors. For example, while the stay is in effect, creditors cannot sue, garnish wages, assert a
deficiency, repossess property, or otherwise try to collect from the debtors. Creditors cannot demand repayment from debtors by mail, phone, or
otherwise. Creditors who violate the stay can be required to pay actual and punitive damages and attorney's fees. Under certain circumstances, the stay
may be limited to 30 days or not exist at all, although debtors can ask the court to extend or impose a stay.
Confirmation of a chapter 13 plan may result in a discharge. Creditors who assert that the debtors are not entitled to a discharge under 11 U.S.C. §
1328(f) must file a motion objecting to discharge in the bankruptcy clerk's office within the deadline specified in this notice. Creditors who want to have
their debt excepted from discharge may be required to file a complaint in the bankruptcy clerk's office by the same deadline. (See line 13 below for more
information.)
To protect your rights, consult an attorney. All documents filed in the case may be inspected at the bankruptcy clerk's office at the address listed below or
through PACER (Public Access to Court Electronic Records at www.pacer.gov).

The staff of the bankruptcy clerk's office cannot give legal advice.

To help creditors correctly identify debtors, debtors submit full Social Security or Individual Taxpayer Identification
Numbers, which may appear on a version of this notice. However, the full numbers must not appear on any document
filed with the court.
Do not file this notice with any proof of claim or other filing in the case. Do not include more than the last four digits of
a Social Security or Individual Taxpayer Identification Number in any document, including attachments, that you file
with the court.

                                              About Debtor 1:                                               About Debtor 2:
1. Debtor's full name                         David E Agbon−Ifo

2. All other names used in the
   last 8 years
                                              1951 McConnor Parkway, Unit 59292
3. Address                                    Schaumburg, IL 60173
                                              David H Cutler                                                Contact phone 847−673−8600
4. Debtor's  attorney
   Name and address
                                              Cutler & Associates, Ltd.
                                              4131 Main St.
                                                                                                            Email: cutlerfilings@gmail.com

                                              Skokie, IL 60076

5. Bankruptcy trustee                         Marilyn O Marshall                                            Contact phone 312−431−1300
     Name and address                         224 South Michigan Ste 800
                                              Chicago, IL 60604

6. Bankruptcy clerk's office                                                                                Hours open:
     Documents in this case may be filed      Eastern Division                                              8:30 a.m. until 4:30 p.m. except Saturdays,
     at this address.                         219 S Dearborn                                                Sundays and legal holidays.
     You may inspect all records filed in     7th Floor                                                     Contact phone 1−866−222−8029
     this case at this office or online at    Chicago, IL 60604                                             Date: 11/12/19
      www.pacer.gov.
                                                                                                                  For more information, see page 2




Official Form 309I                                     Notice of Chapter 13 Bankruptcy Case                                               page 1
      Case 19-32076                 Doc 11         Filed 11/14/19 Entered 11/14/19 23:38:34                                          Desc Imaged
                                                   Certificate of Notice Page 2 of 4
Debtor David E Agbon−Ifo                                                                                                                 Case number 19−32076

7. Meeting of creditors
    Debtors must attend the meeting to     December 9, 2019 at 01:00 PM                                       Location:
    be questioned under oath. In a joint                                                                     224 South Michigan, Suite 800, Chicago, IL
    case, both spouses must attend.                                                                          60604
    Creditors may attend, but are not      The meeting may be continued or adjourned to a
    required to do so.                     later date. If so, the date will be on the court
                                           docket.
                                           Debtors must bring a picture ID and proof of
                                           their Social Security Number.
8. Deadlines                               Deadline to file a complaint to challenge                                Filing deadline: 2/7/20
   The bankruptcy clerk's office must      dischargeability of certain debts:
   receive these documents and any
   required filing fee by the following
   deadlines.                              You must file:
                                           • a motion if you assert that the debtors are
                                               not entitled to receive a discharge under
                                               U.S.C. § 1328(f) or
                                           • a complaint if you want to have a particular
                                               debt excepted from discharge under
                                               11 U.S.C. § 523(a)(2) or (4).
                                           Deadline for all creditors to file a proof of claim                      Filing deadline: 1/21/20
                                           (except governmental units):
                                           Deadline for governmental units to file a proof of                       Filing deadline: 5/11/20
                                           claim:


                                           Deadlines for filing proof of claim:
                                            A proof of claim is a signed statement describing a creditor's claim. A proof of claim form may be obtained at
                                            www.uscourts.gov or any bankruptcy clerk's office.
                                           If you do not file a proof of claim by the deadline, you might not be paid on your claim. To be paid, you must file
                                           a proof of claim even if your claim is listed in the schedules that the debtor filed.
                                           Secured creditors retain rights in their collateral regardless of whether they file a proof of claim. Filing a proof of
                                           claim submits the creditor to the jurisdiction of the bankruptcy court, with consequences a lawyer can explain.
                                           For example, a secured creditor who files a proof of claim may surrender important nonmonetary rights,
                                           including the right to a jury trial.


                                           Deadline to object to exemptions:                                         Filing deadline:    30 days after the
                                           The law permits debtors to keep certain property as exempt. If you                            conclusion of the
                                           believe that the law does not authorize an exemption claimed, you                             meeting of creditors
                                           may file an objection.

9. Filing of plan                          The debtor has filed a plan. The plan is enclosed. The hearing on confirmation will be held on:
                                           1/9/20 at 10:30 AM , Location: 219 South Dearborn, Courtroom 744, Chicago, IL 60604

                                           The Disclosure of Compensation has been filed. The attorney for the debtor is
                                           requesting fees of $ 4000.00
                                           Objections to confirmation of the Plan shall be filed at least 7 days prior to the confirmation
                                           hearing. If there are no objections, the Court may confirm the plan and allow fees requested
                                           by debtor's counsel to be paid through the plan.
10. Creditors with a foreign               If you are a creditor receiving a notice mailed to a foreign address, you may file a motion asking the court to
    address                                extend the deadline in this notice. Consult an attorney familiar with United States bankruptcy law if you have
                                           any questions about your rights in this case.
11. Filing a chapter 13                    Chapter 13 allows an individual with regular income and debts below a specified amount to adjust debts
    bankruptcy case                        according to a plan. A plan is not effective unless the court confirms it. You may object to confirmation of the
                                           plan and appear at the confirmation hearing. A copy the plan, if not enclosed, will be sent to you later, and if the
                                           confirmation hearing is not indicated on this notice, you will be sent notice of the confirmation hearing. The
                                           debtor will remain in possession of the property and may continue to operate the business, if any, unless the
                                           court orders otherwise.
12. Exempt property                        The law allows debtors to keep certain property as exempt. Fully exempt property will not be sold and
                                           distributed to creditors, even if the case is converted to chapter 7. Debtors must file a list of property claimed as
                                           exempt. You may inspect that list at the bankruptcy clerk's office or online at www.pacer.gov. If you believe that
                                           the law does not authorize an exemption that debtors claimed, you may file an objection by the deadline.
13. Discharge of debts                     Confirmation of a chapter 13 plan may result in a discharge of debts, which may include all or part of a debt.
                                           However, unless the court orders otherwise, the debts will not be discharged until all payments under the plan
                                           are made. A discharge means that creditors may never try to collect the debt from the debtors personally except
                                           as provided in the plan. If you want to have a particular debt excepted from discharge under 11 U.S.C. §
                                           523(a)(2) or (4), you must file a complaint and pay the filing fee in the bankruptcy clerk's office by the deadline.
                                           If you believe that the debtors are not entitled to a discharge of any of their debts under 11 U.S.C. § 1328(f), you
                                           must file a motion by the deadline.




Official Form 309I                                    Notice of Chapter 13 Bankruptcy Case                                                     page 2
        Case 19-32076        Doc 11    Filed 11/14/19 Entered 11/14/19 23:38:34             Desc Imaged
                                       Certificate of Notice Page 3 of 4
                                      United States Bankruptcy Court
                                      Northern District of Illinois
In re:                                                                                  Case No. 19-32076-TAB
David E Agbon-Ifo                                                                       Chapter 13
         Debtor
                                        CERTIFICATE OF NOTICE
District/off: 0752-1           User: lsims                  Page 1 of 2                   Date Rcvd: Nov 12, 2019
                               Form ID: 309I                Total Noticed: 52


Notice by first class mail was sent to the following persons/entities by the Bankruptcy Noticing Center on
Nov 14, 2019.
db             +David E Agbon-Ifo,    1951 McConnor Parkway, Unit 59292,     Schaumburg, IL 60173-4371
28375945      ++AMERILOAN DBA TFS CORP,    PO BOX 111,    MIAMI OK 74355-0111
               (address filed with court: Cash Advance,      Attn: Bankruptcy Dept,     2533 N. Carson St,
                 Carson City, NV 89706)
28375941        Amita Healhcare,    22589 Network Place,    Chicago, IL 60673-1225
28375942      #+Armor Systems,    1700 Kiefer Dr, Ste 1,    Zion, IL 60099-5105
28375943       +Arnold Scott Harris, P.C. Attorney,     111 West Jackson Blvd,    Ste 600,
                 Chicago, IL 60604-3517
28375946        Check Into Cash,    Bankruptcy Department,    6815 W. North Ave,     Chicago, IL 60707
28375948        City of Chicago,    Depart of Finance,    PO Box 88290,    Chicago, IL 60680-1290
28375949       +City of Chicago Bureau Parking,     Department of Revenue,    PO Box 88292,
                 Chicago, IL 60680-1292
28375950       +City of Rolling Meadows,    3600 Kirchoff Rd,     Rolling Meadows, IL 60008-2498
28375951       +City of Rolling Meadows Police,     C/O Armos Systems Co,    1700 Kiefer Dr, Ste 1,
                 Zion, IL 60099-5105
28375953       +Dorris Eneamokwu,    6500 N Damen Ave,    Chicago, IL 60645
28375954      #+Express Auto Title Loans,    4007 ALGONQUIN ROAD,     Rolling Meadows, IL 60008-3001
28375955        Eye Care Centers of America,    PO Box 842131,     Dallas, TX 75284-2131
28377210        Frank Schnobel,    6100 N Broadway,    Chicago, IL 60660
28375963       +HRRG,   PO Box 5406,    Cincinnati, OH 45273-0001
28375960       +Heights Finance Corp,    3726 W Elm st,    McHenry, IL 60050-4360
28375962       +Home Shopping Network,    C/O Oliphant Collection Agency,     PO Box 864934,
                 Orlando, FL 32886-4934
28375964        IL Dept of Health & Family Services,     PO Box 19152, HFS 2766,      Springfield, IL 62794-9152
28375965       +Illinois Child Support Enforcement,     509 S 6th Street,    Springfield, IL 62701-1809
28375967        Illinois State Highway Authority,     Attn: Legal Dept - Bob Lane,     2700 Ogden Ave,
                 Downers Grove, IL 60515-1703
28375968       #Illinois Tenants Union,    Michael & Douglas Pensack,     4616 N. Drake,    Chicago, IL 60625-5814
28375969       +Illinois Tollway,    PO Box 5544,    Chicago, IL 60680-5491
28375971       +Krystyna Scehura,    5673 N. Northcott Ave,    Chicago, IL 60631-3103
28375972       +Kuntz & Kuntz,    900 E. Northwest Hwy,    Mount Prospect, IL 60056-3444
28375976       +MW585 Midwest Title Loans, Inc,     1597 N. Rand Rd,    Palatine, IL 60074-2919
28375973       +Mab&T-Santander Consum,    Attn: Bankruptcy Dept,     PO Box 961245,    Fort Worth, TX 76161-0244
28375975       +Midwest Title Loan,    1300 Irving Park Rd,    Hanover Park, IL 60133-2568
28375977       +National Payment Services, JP Morga,     P.O. Box 182223,    Columbus, OH 43218-2223
28375978       +Northwest Commuity Healthcare,     28079 Network Place,    Chicago, IL 60673-1280
28375979       +Northwest Community Hospital,     28079 Network Place,    Chicago, IL 60673-1280
28375980       +Pediatrust,    2215 N. Sanders Rd,    Northbrook, IL 60062-6194
28375981        Penn Credit,    2800 Commerce Drive,    PO Box 69703,    Harrisburg, PA 17106-9703
28375982       +QVC,   Bankruptcy Department,     303 Miller St,    Strasburg, PA 17579-1000
28375983       +QVC,   C/O Bankruptcy Services,     6330 Gulfton,    Houston, TX 77081-1108
28375984       +Secretary of State,    Attn: Safety & Financial Resp,     2701 S. Dirksen Pkwy,
                 Springfield, IL 62723-0002
28375985       +Sonnenschein Financial Services Inc,     Two TransAm Plaza, Ste 300,     Villa Park, IL 60181-4817
28375988       +VSAC Federal Loans,    PO Box 777,    Winooski, VT 05404-0777
28375987        Village of Villa Park,    200 S. Ardmore Ave,     Villa Park, IL 60181

Notice by electronic transmission was sent to the following persons/entities by the Bankruptcy Noticing Center.
aty             E-mail/Text: cutlerfilings@gmail.com Nov 13 2019 03:31:37       David H Cutler,
                 Cutler & Associates, Ltd.,   4131 Main St.,    Skokie, IL 60076
tr             +E-mail/Text: courtnotices@chi13.com Nov 13 2019 03:34:50       Marilyn O Marshall,
                 224 South Michigan Ste 800,   Chicago, IL 60604-2503
ust            +E-mail/Text: USTPREGION11.ES.ECF@USDOJ.GOV Nov 13 2019 03:35:00       Patrick S Layng,
                 Office of the U.S. Trustee, Region 11,    219 S Dearborn St,    Room 873,
                 Chicago, IL 60604-2027
28375944        EDI: CAPITALONE.COM Nov 13 2019 07:48:00      Capital One,    Attn: General Correspondence,
                 PO Box 30285,   Salt Lake City, UT 84130-0285
28375952       +E-mail/PDF: creditonebknotifications@resurgent.com Nov 13 2019 03:38:24       Credit One,
                 PO Box 98873,   Las Vegas, NV 89193-8873
28375957       +E-mail/PDF: resurgentbknotifications@resurgent.com Nov 13 2019 03:38:32       First Premier Bank,
                 C/O LVNV Funding LLC,   PO Box 10584,    Greenville, SC 29603-0584
28375956       +EDI: AMINFOFP.COM Nov 13 2019 07:48:00      First Premier Bank,    Bankruptcy Department,
                 PO Box 5524,   Sioux Falls, SD 57117-5524
28375958       +E-mail/Text: bankruptcy@fncbinc.com Nov 13 2019 03:31:58       First Premier Bank,
                 C/O First National Coll. Bureau,    610 Waltham Way,   Sparks, NV 89437-6695
28375959       +EDI: PHINHARRIS Nov 13 2019 07:48:00      Harris & Harris LTD,    111 West Jackson Blvd, Ste 400,
                 Chicago, IL 60604-4135
28375961       +E-mail/Text: bankruptcy@hsn.net Nov 13 2019 03:36:41       Home Shopping Network,
                 Bankruptcy Department,   PO Box 9090,    Clearwater, FL 33758-9090
28375966        E-mail/Text: rev.bankruptcy@illinois.gov Nov 13 2019 03:35:12
                 Illinois Department of Revenue,   Federal State Exchange Unit,     PO Box 19026,
                 Springfield, IL 62794-9026
28375970        EDI: IRS.COM Nov 13 2019 07:48:00      Internal Revenue Service - 1/11,    PO Box 7346,
                 Philadelphia, PA 19101-7346
           Case 19-32076           Doc 11       Filed 11/14/19 Entered 11/14/19 23:38:34                         Desc Imaged
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District/off: 0752-1                  User: lsims                        Page 2 of 2                          Date Rcvd: Nov 12, 2019
                                      Form ID: 309I                      Total Noticed: 52


Notice by electronic transmission was sent to the following persons/entities by the Bankruptcy Noticing Center
(continued)
28375974        EDI: PARALONMEDCREDT Nov 13 2019 07:48:00     Medicredit,   PO Box 1629,
                 Maryland Heights, MO 63043-0629
28375986       +EDI: VERIZONCOMB.COM Nov 13 2019 07:48:00     Verizon Wireless,   Attn: Bankruptcy Dept,
                 PO Box 49,   Lakeland, FL 33802-0049
                                                                                            TOTAL: 14

             ***** BYPASSED RECIPIENTS (undeliverable, * duplicate) *****
28375947       ##+Check n Go,   Bankruptcy Department,   2547 W. Golf Rd,                       Hoffman Estates, IL 60169-1165
                                                                                                                  TOTALS: 0, * 0, ## 1

Addresses marked ’+’ were corrected by inserting the ZIP or replacing an incorrect ZIP.
USPS regulations require that automation-compatible mail display the correct ZIP.

Transmission times for electronic delivery are Eastern Time zone.

Addresses marked ’++’ were redirected to the recipient’s preferred mailing address
pursuant to 11 U.S.C. 342(f)/Fed.R.Bank.PR.2002(g)(4).

Addresses marked ’#’ were identified by the USPS National Change of Address system as requiring an update.
While the notice was still deliverable, the notice recipient was advised to update its address with the court
immediately.

Addresses marked ’##’ were identified by the USPS National Change of Address system as undeliverable.                             Notices
will no longer be delivered by the USPS to these addresses; therefore, they have been bypassed. The
debtor’s attorney or pro se debtor was advised that the specified notice was undeliverable.


I, Joseph Speetjens, declare under the penalty of perjury that I have sent the attached document to the above listed entities in the manner
shown, and prepared the Certificate of Notice and that it is true and correct to the best of my information and belief.
Meeting of Creditor Notices only (Official Form 309): Pursuant to Fed. R. Bank. P. 2002(a)(1), a notice containing the complete Social
Security Number (SSN) of the debtor(s) was furnished to all parties listed. This official court copy contains the redacted SSN as required
by the bankruptcy rules and the Judiciary’s privacy policies.
Date: Nov 14, 2019                                             Signature: /s/Joseph Speetjens

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                                      CM/ECF NOTICE OF ELECTRONIC FILING

The following persons/entities were sent notice through the court’s CM/ECF electronic mail (Email)
system on November 12, 2019 at the address(es) listed below:
              David H Cutler   on behalf of Debtor 1 David E Agbon-Ifo cutlerfilings@gmail.com,
               r48280@notify.bestcase.com
              Marilyn O Marshall    courtdocs@chi13.com
              Patrick S Layng    USTPRegion11.ES.ECF@usdoj.gov
                                                                                            TOTAL: 3
